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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 PLAINTIFF, INC., an Illinois
 corporation,

               Plaintiff,                            No. 23-cv-03878

        v.                                           Judge Franklin U. Valderrama

 PAWEL Y. SLESINSKI, NATIONAL
 COMPLIANCE CENTER LLC, an
 Illinois limited liability company, and
 DOROTA SLESINSKI a/k/a/ DOROTA
 DOBOSZ,

               Defendants.

                                          ORDER

       Plaintiff Inc. (Plaintiff), a compliance agent and business consultant in the

trucking and motor carrier business, in a move it would eventually regret, hired

Defendant Pawel Slesinski (Slesinski). R. 1, 1 Compl. ¶ 10. Id. ¶ 25. After 18 months,

Slesinski ended his employment, stating he was dissatisfied with his position and

was returning to his prior employer. Id. ¶ 28. That, however, was a ruse. Slesinski

did not return to his former employer—instead, he and his wife, Dorota Dobosz

(Dobosz) formed the National Compliance Center (NCC), a direct competitor to

Plaintiff, while Slesinski was still in Plaintiff’s employ. Compl. ¶ 34. And that’s not

all, as Slesinski, while still working for Plaintiff, sent himself 100 emails containing




1Citations to the docket are indicated by “R.” followed by the docket number or filing name,

and where necessary, a page or paragraph citation.
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proprietary information to which “only a very few authorized upper management

personnel had authorized access . . . .” Id. ¶¶ 35, 37.

       Plaintiff sued Slesinski, NCC, and Dobosz (collectively, Defendants) alleging,

among other things, violations of the Defend Trade Secrets Act, 18 U.S.C. § 1836, the

Illinois Trade Secrets Act, 765 ILCS 1065 and several state law claims. 2 See Compl.

       Defendants move to dismiss (the Motion) Plaintiff’s complaint for failure to

state a claim under Federal Rule of Civil Procedure12(b)(6). R. 17, Mot. Dismiss. For

the reasons set forth below, the Court grants in part and denies in part the Motion.

                                        Background 3

       Plaintiff serves the trucking and motor carrier industry throughout the United

States, Canada and Mexico, handling all aspects of regulations promulgated by the

United States Department of Transportation (DOT) and the Federal Motor Carrier

Safety Administration (FMSCA). Compl. ¶¶ 10, 11. Specifically, “[Plaintiff’s] business

is to assess and determine its clients’ individual compliance scenarios, inform its

clients which regulations apply (and don’t apply) to their companies, notify its clients

of impending compliance deadlines, and provide the regulation codes and a link to

the official DOT mandate so that its clients can review the applicable information

from the actual source.” Id. ¶ 11.

I.     Plaintiff’s Confidential Information

       To best serve its clients, Plaintiff “created a large proprietary database of


2Plaintiff has voluntarily dismissed its claim for conversion (Count VI). R. 21, Resp. at 14 n.3.


3The Court accepts as true all of the well-pleaded facts in the complaint and draws all
reasonable inferences in favor of Plaintiff. Platt v. Brown, 872 F.3d 848, 851 (7th Cir. 2017).
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contacts or leads using the DOT public database” as a source. Compl. ¶ 13. Plaintiff

supplemented its database “by obtaining information that was not readily available,

including but not limited to the current email addresses and point of contact for the

safety department for all registered DOT motor carriers, testable phone

numbers . . . names of parties responsible for safety compliance, and permission to be

contacted by [Plaintiff], which is not authorized or granted by the DOT.” Id. ¶ 14.

This database is “contained in a single, password protected file that is only accessible

to a very small number of authorized [Plaintiff] employees.” Id. ¶ 15.

      Plaintiff also created a series of unique proprietary templates and a unique

system for processing payments. Plaintiff’s proprietary templates consisted of

“simplified, user-friendly forms” that “inform[ed] clients of regulations that they are

required to comply with,” “educat[ed] motor carriers about applicable DOT and

FMSCA regulations,” and confirmed “filing, status, and error reporting.” Compl. ¶ 16.

Plaintiff’s system for processing payments consists of “online applications” that

“collect[] data,” “assess client data to alert users to additional compliance

requirements,” and sen[ds] users “automated confirmation alerts, receipts, and

reminders based on company information and the need to comply with specific

regulations.” Id. ¶ 17.

      Plaintiff “spent years and hundreds of thousands of dollars developing its

aforementioned database and systems” through “assessing and correlating huge

amounts of data using proprietary, confidential and trade secret technology and

algorithms developed by [Plaintiff.]” Compl. ¶ 18–19.



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II.     Plaintiff’s Efforts to Maintain Confidentiality

        Plaintiff’s “highly confidential, proprietary information . . . appears in no

directory or publicly available source and is neither commonly known nor easily

discoverable by Plaintiff’s competitors.” Compl. ¶ 21. Plaintiff takes “great efforts” to

maintain the secrecy of this information. Id. ¶ 20. It requires “all office personnel

with access to confidential information . . . to sign an Information Security Trade

Secrets Agreement, which prohibits the sharing of information outside of Plaintiff,

except in limited circumstances;” maintains its confidential information “in protected

computer files that are accessible only by use of secret passwords and two-factor

authentication procedures, as well as by utilizing different levels of permission to

access its files and folders;” and provides “extensive training . . . related to the

avoidance of self-dealing and breaches of loyalty, including the misuse of confidential

information.” Id. ¶¶ 20, 21, 32.

III.    Slesinski’s Employment and Subsequent Conduct

        Plaintiff hired Slesinski in May 2019 to work in its call center, and he

eventually moved on to processing certain filings and the creation of outbound

advertising mailers sent to clients or potential leads. Compl. ¶ 24–25. Four months

later, Plaintiff asked, and Slesinski agreed, to sign Plaintiff’s “Information Security

and Trade Secrets Agreement,” as he “did not have authorized access to all of

Plaintiff’s databases containing its proprietary information relating to leads and

contacts, which were password protected, and he was not knowingly provided access

to such passwords.” Id. ¶¶ 26, 30. The Agreement required Slesinski to maintain the



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confidentiality of “client information” and prohibited him from sharing the

information with anyone outside of Plaintiff, except in certain authorized situations.

Id. ¶ 31. Plaintiff also required Slesinski to receive “extensive training” in which he

“agreed to abide by the policies, procedures and controls Hoffenmer had in place to

protect its proprietary information and trade secrets.” Id. ¶ 32. However, one day,

Plaintiff’s managers observed—despite Slesinski’s best efforts at concealment—an

open database file on Slesinski’s desktop that he was not authorized to access. Id.

¶ 27. Plaintiff reprimanded Slesinski and instructed him to refrain from accessing

the database in the future. Id.

      In November 2020, Slesinski ended his employment with Plaintiff and

informed management that he had decided to return to his prior employer, who was

not a competitor of Plaintiff. Compl. ¶ 28. This statement, however, turned out to be

false. In February 2021, a client informed Plaintiff that it had been contacted by a

company called the National Compliance Center (NCC), concerning his DOT renewal,

which Slesinski had previously handled. Id. ¶ 33. Plaintiff then investigated NCC

and learned that NCC was a direct competitor formed by Slesinski’s wife, Dobosz, in

August 2020, while Slesinski was still working at Plaintiff. Id. ¶ 34. And NCC was

not only a direct competitor but a plagiarist as well, as Plaintiff “discovered that

NCC’s website was almost identical to [Plaintiff’s] website, as were the templates and

forms NCC was using to service its customers, which had been created by [Plaintiff]

at a great expenditure of time and money.” Id. ¶ 35.

      Ultimately, Plaintiff’s investigation determined that “Slesinski had sent



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himself over 100 emails from his [] desktop computer to his private email account

while he was still employed by [Plaintiff].” Compl. ¶ 36. Several of these emails

contained confidential information including:

      [Plaintiff] tutorials and scripts that were outside the scope of his work;
      sensitive and confidential client information such as social security numbers,
      employment identification numbers, dates of birth, and driver’s license
      numbers; and [Plaintiff] credentials, including passwords and its Secret API
      Key (a secret token/password that is only permitted to be used by a select few
      authorized employees to dispatch communications to certain clients and/or
      leads, which Slesinski was never provided and never authorized to access or
      use).

Id. ¶ 37. Plaintiff states that “only a very few authorized upper management

personnel had authorized access” to this information, alleging that Slesinski

unlawfully “gave himself unauthorized access to [Plaintiff’s] proprietary customer

communication systems, including source codes for [Plaintiff’s] proprietary program

for communicating with its clients and the passwords for accessing [Plaintiff’s]

confidential list of customers and leads.” Id. Plaintiff further alleges that, due to

Defendants’ conduct, it has “sustained substantial lost revenue and profits and is

vulnerable to future losses in the conduct of its business.” Id. ¶ 39.

      Plaintiff sued Defendants, asserting claims for: breach of fiduciary duty (Count

I); violations of the Defend Trade Secrets Act, 18 U.S.C. § 1836 (DTSA) (Count II),

the Computer Fraud and Abuse Act 18 U.S.C. § 1030 (CFAA) (Count III), the Stored

Communications Act, 18 U.S.C. § 2701 (SCA) (Count IV), the Illinois Trade Secrets

Act, 765 ILCS 1065 (ITSA) (Count V); tortious interference with business relations

(Count VII); aiding and abetting breach of fiduciary duty (Count VIII); and accounting

(Count IX). See Compl.

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       Defendants now move to dismiss Plaintiff’s complaint for failure to state a

claim under Federal Rule of Civil Procedure12(b)(6). The fully briefed motion is before

the Court.

                                   Legal Standard

       A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the

complaint. Hallinan v. Fraternal Order of Police of Chi. Lodge No. 7, 570 F.3d 811,

820 (7th Cir. 2009). Under Federal Rule of Civil Procedure 8, a complaint must

include only “a short and plain statement of the claim showing that the pleader is

entitled to relief.” Fed. R. Civ. P. 8(a)(2). To survive a motion to dismiss, a complaint

need only contain factual allegations, accepted as true, sufficient to “state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. The allegations

“must be enough to raise a right to relief above the speculative level.” Twombly, 550

U.S. at 555. The allegations that are entitled to the assumption of truth are those

that are factual, rather than mere legal conclusions. Iqbal, 556 U.S. at 678–79.

                                  Analysis

       Defendants argue that each of Plaintiff’s nine counts should be dismissed. The

Court addresses each in turn.

I.     Violations of the DTSA (Count II) and ITSA (Count V)

       Plaintiff brings two claims for misappropriation of trade secrets: Count II



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under the DTSA and Count V under the ITSA. Compl. ¶¶ 48–56, 70–78. To state a

DTSA claim, the plaintiff must plausibly allege facts “sufficient to provide notice that

the relevant information constitutes a trade secret, and . . . must sufficiently allege

that the defendant has misappropriated the trade secret within the meaning of

§ 1836(b)(1).” Packaging Corp. of Am., Inc., v. Croner, 419 F. Supp. 3d 1059, 1065–66

(N.D. Ill. 2020) (cleaned up). 4 Under DTSA, misappropriation “means the acquisition

of a trade secret of another by a person who knows or has reason to know that the

trade secret was acquired by improper means.” In re Dealer Mgmt. Sys. Antitrust

Litig., 362 F. Supp. 3d 558, 573 (N.D. Ill. 2019) (citing 18 U.S.C. § 1839(5)). “[T]he

term ‘improper’ means (A) includes theft, bribery, misrepresentation, breach or

inducement of a breach of a duty to maintain secrecy, or espionage through electronic

or other means; and (B) does not include reverse engineering, independent derivation,

or any other lawful means of acquisition.” 18 U.S.C. § 1839(6).

      Similar to the DTSA, to state a claim for violation of the ITSA “a plaintiff must

allege: (1) that the information at issue was a trade secret; (2) that it was

misappropriated; and (3) that it was used in the defendants’ business.” Fire ‘Em Up,

Inc. v. Technocarb Equip. (2004) Ltd., 799 F. Supp. 2d 846, 849 (N.D. Ill. 2011). The

ITSA defines “misappropriation,” “improper means,” and “trade secrets” similarly to

the DTSA. Compare 765 ILCS 1065/2(a), (b), (d), with 18 U.S.C. § 1839(3), (5), (6).

      Since “the pertinent definitions of the [DTSA and ITSA] overlap,” courts often



4This Order uses (cleaned up) to indicate that internal quotation marks, alterations, and

citations have been omitted from quotations. See Jack Metzler, Cleaning Up Quotations, 18
Journal of Appellate Practice and Process 143 (2017).
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evaluate these claims together. PrimeSource Bldg. Prods. v. Felten, 2017 WL

11500971, at *6, n.5 (N.D. Ill. July 6, 2017). See also Molon Motor & Coil Corp. v.

Nidec Motor Corp., 2017 WL 1954531, at *3 (N.D. Ill. May 11, 2017) (differences in

definitions between DTSA and ITSA are “immaterial” for purposes of resolving a

motion to dismiss). Put simply, “for both its DTSA and ITSA claims, [Plaintiff] must

allege that (1) there are trade secrets (2) that Defendants misappropriated.” Aon PLC

v. Infinite Equity, Inc., 2021 WL 4034068, at *12 (N.D. Ill. Sept. 3, 2021).

      A.     Trade Secrets

      Defendants first argue that Plaintiff fails to sufficiently allege the first

element: the existence of trade secrets. Mot. Dismiss at 7.

      The DTSA defines a trade secret as:

      (3)    All forms and types of financial, business, scientific, technical, economic,
             or engineering information, including patterns, plans, compilations,
             program devices, formulas, designs, prototypes, methods, techniques,
             processes, procedures, programs, or codes, whether tangible or
             intangible, and whether or how stored, compiled, or memorialized
             physically, electronically, graphically, photographically, or in writing
             if—

             (A)    the owner thereof has taken reasonable measures to keep such
                    information secret; and

             (B)    the information derives independent economic value, actual or
                    potential, from not being generally known to, and not being
                    readily ascertainable through proper means by, another person
                    who can obtain economic value from the disclosure or use of the
                    information.

18 U.S.C. § 1839(3). The definition of trade secrets in the ITSA “is materially

identical.” Life Spine, Inc., v. Aegis Spine, Inc., 8 F.4th 531, 540 (7th Cir. 2021). and

imposes the same requirements. See 765 ILCS 1065/2(d).

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      Starting with Plaintiff’s customer database, Defendants assert that it consists

of readily ascertainable information and thus cannot qualify as a trade secret because

Plaintiff obtained its customer identities from a public DOT database. Mot. Dismiss

at 7–8. Further, Defendants argue that Plaintiff’s allegation related to creating its

own customer database by supplementing the DOT’s public information with certain

non-public information is insufficient, as this allegation “does not claim that any of

that information is not publicly available on the internet.” Id. at 8.

      Plaintiff disagrees, stating that it “specifically alleges that the information

contained in [Plaintiff’s] customer database and systems does not appear in any

directory or publicly available source, nor is it commonly known or easily discoverable

or ascertainable by [Plaintiff’s] competitors.” R. 12, Resp. at 7–8 (identifying this

information as “current email addresses and point of contact for the safety

department for all registered DOT motor carriers, testable phone numbers (SMS

ready numbers), names of parties responsible for safety compliance, and permission

to be contacted by Plaintiff”). These allegations, from Plaintiff’s perspective,

sufficiently state that the customer database contains information that is not readily

ascertainable. The Court agrees.

      Courts in this district regularly find that customer databases alleged to “go

beyond mere public customer identities” may qualify as trade secrets under the DTSA

and ITSA. Mickey’s Linen v. Fischer, 2017 WL 3970593, at *9 (N.D. Ill. Sept. 8, 2017);

see also Allied Waste Servs. of N. Am., LLC v. Tibble, 177 F. Supp. 3d 1103, 1112 (N.D.

Ill. 2016) (“Trade secrets include customer lists that are not readily ascertainable,



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pricing, distribution, and marketing plans, and sales data and market analysis

information.”); Mintel Int'l Group, Ltd. v. Neergheen, 2010 WL 145786, at *11 (N.D.

Ill. Jan 12, 2010) (“prospective clients (and their addresses)” were trade secrets); APC

Filtration, Inc. v. Becker, 646 F. Supp. 2d 1000, 1010 (N.D. Ill. 2009) (holding that

the names and address of contact persons of customers was a trade secret with

“obvious and well recognized” value). Defendants cite no authority for the proposition

that Plaintiff is required to allege that the information in its customer database “is

not publicly available on the internet.” Mot. Dismiss at 8. True, Plaintiff derived the

identities of its customers from a public DOT database, but Plaintiff alleges that it

used those identities to create its own database and, crucially, supplemented that

database with a host of “information that was not readily available.” Compl. ¶ 14.

That is all that is required at this stage of the litigation. Accordingly, the Court finds

that Plaintiff’s customer database contains information that is not readily

ascertainable and declines to dismiss Counts II and V on this basis.

      Turning to Plaintiff’s templates and payment system, Defendants argue that

Plaintiff fails to allege they contain information that is not readily ascertainable. Mot.

Dismiss at 9. Not only that, but Plaintiff ’s descriptions of its templates and payment

system, according to Defendants, fail to “adequately identify the purported

misappropriated trade secret,” as Plaintiff improperly points only to “generalized

categories of information or business tools [to which] Slesinski had access.” R. 22,

Reply at 4.

      Plaintiff rejects the notion that it is required to allege its templates and



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payment systems contain information not readily ascertainable. Resp. at 8. From

Plaintiff’s perspective, it need only describe “the information and the efforts to

maintain its confidentiality . . . in general terms.” Id. at 7. And because Plaintiff

identifies its trade secrets and describes their purpose, Plaintiff asserts that it has

sufficiently provided Defendants “with notice of the confidential information it claims

are trade secrets.” Id. The Court agrees.

      “Courts are in general agreement that trade secrets need not be disclosed in

detail in a complaint alleging misappropriation for the simple reason that such a

requirement would result in public disclosure of the purported trade secrets.”

AutoMed Techs., Inc. v. Eller, 160 F. Supp. 2d 915, 921 (N.D. Ill. 2001); see also Fire

‘Em Up, Inc., 799 F. Supp. 2d at 849 (“alleged trade secrets need not be disclosed in

detail in a complaint to survive a motion to dismiss”). Accordingly, “[c]ourts in this

district . . . have concluded trade secret allegations to be adequate in instances where

the information and the efforts to maintain its confidentiality are described in general

terms.” Mission Measurement Corp. v. Blackbaud, Inc., 216 F. Supp. 3d 915, 920 (N.D.

Ill. 2016) (cleaned up); see also GoHealth, LLC v. Simpson, 2013 WL 6183024, at *12

(N.D. Ill. Nov. 26, 2013) (identification of trade secret as processes, systems, and

technology allowing a call center to respond quickly adequate to state a claim); Papa

John’s Int’l v. Rezko, 446 F.Supp.2d 801, 812 (N.D. Ill.2006) (claim survived motion

to dismiss even though it was “unclear which trade secrets of the ‘Papa John’s System’

were misappropriated”). “In this context, courts only dismiss a claim for lack of

specificity on the pleadings in the most extreme cases.” Mission Measurement Corp.,



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216 F. Supp. 3d at 920 (cleaned up); Learning Curve Toys, Inc. v. PlayWood Toys, Inc.,

342 F.3d 714, 723 (7th Cir. 2003) (“the question of whether certain information

constitutes a trade secret ordinarily is best resolved by a fact finder after full

presentation of evidence from each side”) (cleaned up).

      Contrary to Defendants’ contentions, Plaintiff does not point only to

“generalized categories of information or business tools [to which] Slesinski had

access.” Reply at 4. Rather, Plaintiff alleges that its templates consist of “simplified,

user-friendly forms” that “inform[ed] clients of regulations that they are required to

comply with,” “educat[ed] motor carriers about applicable DOT and FMSCA

regulations,” and confirmed “filing, status, and error reporting.” Compl. ¶ 16.

Additionally, Plaintiff alleges that its payment consists of “online applications” that

“collect[ed] data,” “assess[ed] client data to alert users to additional compliance

requirements,” and sent users “automated confirmation alerts, receipts, and

reminders based on company information and the need to comply with specific

regulations.” Id. ¶ 17.    In short, the Court finds that Plaintiff has adequately

described its templates and payment system and declines to dismiss Counts II and V

on this basis.

      The last arrow in Defendants’ quiver is the assertion that Counts II and V must

be dismissed because Plaintiff “did not adequately protect its information from

disclosure.” Mot. Dismiss at 9. Citing no case law, Defendants base this argument on

the sole fact that Plaintiff “failed to have Slesinski sign [its] Information Security and

Trade Secrets Agreement until more than four months after employing him.” Id. In



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response, Plaintiff argues, among other things, that Defendants’ contention ignores

several allegations demonstrating that “additional reasonable measures of protection

were taken.” Resp. at 10.

      “Under both the DTA or ITSA, a plaintiff must take reasonable efforts to

ensure the secrecy of its trade secrets.” Sievert Elec. Serv. & Sales Co. v. Storako,

2024 WL 4346789, at *10 (N.D. Ill. Sept. 30, 20204). Whether the measures taken by

a trade secret owner are sufficient to satisfy ITSA’s reasonableness standard “is a

fact-specific inquiry that depends on the particularities of each plaintiff’s business.”

Id. “At the pleading stage, a plaintiff is required only to allege the measures it took

in general terms.” Id.

      Here, Plaintiff adequately alleges the measures that it took to protect its trade

secrets. Plaintiff alleges that it maintained its alleged trade secrets “in protected

computer files that are accessible only by use of secret passwords and two-factor

authentication procedures, as well as by utilizing different levels of permission to

access its files and folders.” Compl. ¶ 21. Further, Plaintiff alleges that:

      Slesinski received extensive training when he began his employment with
      Plaintiff, which included instruction related to the avoidance of self-dealing
      and breaches of loyalty, including the misuse of confidential information.
      During this training, Slesinski agreed to abide by the policies, procedures and
      controls Plaintiff had in place to protect its proprietary information and trade
      secrets and to avoid activities that placed Plaintiff’s interests in conflict with
      his own personal interests or that of third parties.

Id. ¶ 32. In addition, Plaintiff alleges that it required Slesinski to sign the

“Information Security and Trade Secrets Agreement.” Plaintiff’s failure to have

Slesinski sign the Information Security and Trade Secrets Agreement for four



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months, alone, does not warrant dismissal of these counts. Plaintiff is “not required

to allege that it took every viable or prudent measure” to secure its trade secrets.

Storako, 2024 WL 4346789, at *12. True, Plaintiff will need to demonstrate the

reasonableness of the measures it took at a later stage of the litigation, but not today.

Id. In sum, the Court finds Plaintiff has sufficiently alleged that it took reasonable

measures to maintain the confidentiality of its alleged trade secrets. See Segerdahl

Corp. v. Ferruzza, 2019 WL 77426, at *3 (N.D. Ill. Jan. 2, 2019) (DTSA and ITSA

claims survived motion to dismiss where plaintiff “conduct[ed] annual security

training for employees to maintain secrecy, control[ed] access to the facilities, ke[pt]

the information on password protected computers, and disclos[ed] the information on

a need to know basis.”); Traffic Tech, Inc. v. Kreiter, 2015 WL 9259544, at *11 (N.D.

Ill. Dec. 18, 2015) (plaintiff adequately alleged reasonable measures by stating it

“implement[ed] confidentiality policies” and “limit[ed] access to [confidential]

information to key employees”).

      All in all, the Court finds that Plaintiff has sufficiently alleged that its

customer database, templates, and payment system qualify as trade secrets.

      B.     Misappropriation

      Defendants next argue that a “plaintiff alleging misappropriation of trade

secrets must plead that the defendant used the secret in its business, and that such

use actually harmed the plaintiff.” Mot. at 10 (citing In re Adegoke, 632 B.R. 154, 165

n.9 (N.D. Ill. 2021)). And from Defendants’ perspective, Plaintiff fails to allege that

Defendants used its trade secrets and thus fails to state a claim.



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      Plaintiff counters that Defendants present an incomplete statement of the law.

“Under the DTSA and ITSA, a plaintiff can show misappropriation in three ways: by

showing unauthorized acquisition, disclosure, or use of a trade secret.” Symbria, Inc.

v. Callen, 2022 WL 60530, at *12 (N.D. Ill. Jan. 6, 2022) (citing J.S.T. Corp. v. Foxconn

Interconnect Tech. Ltd., 965 F.3d 571, 576 (7th Cir. 2020) (emphasis added). Thus,

Plaintiff argues, it sufficiently pled misappropriation by alleging that Slesinski

“wrongfully acquired [Plaintiff’s] trade secrets through improper means when he was

caught viewing certain protected information he was unauthorized to access while at

work, and when he emailed confidential trade secret information to his personal

email account from his work computer.” Resp. at 11.

       The    Court   agrees   and    finds     that   Plaintiff   has   sufficiently   pled

misappropriation through unauthorized acquisition. See Symbria, Inc, 2022 WL

60530, at *12 (“Alleging the transmission of trade secrets from a work email account

to a personal email account in violation of company policy and without authorization

sufficiently pleads a theory of improper acquisition.”); TF Glob. Markets (Aust) Ltd.

v. Sorenson, 2023 WL 2138999, at *5 (N.D. Ill. Feb. 17, 2023) (misappropriation

sufficiently alleged where defendant “retained without authorization numerous

sensitive emails”); Insight Glob., LLC v. Borchardt, 2018 WL 2267810, at *3–4 (N.D.

Ill. May 17, 2018) (allegations that defendant took “immediate employment with a

competitor doing the same type of work” coupled with “evidence that [defendant] took

materials from the company prior to leaving,” were “sufficient to infer the possibility

that [defendant] misappropriated trade secrets”); also Aon PLC, 2021 WL 4034068,



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at *12 (complaint sufficiently pled misappropriation where an employee emailed

trade secrets to his personal email account in violation of company policy).

       C.     Damages

       Last, Defendants argue that Plaintiff’s allegations regarding damages are

insufficient. Mot. Dismiss at 10 (“While Plaintiff claims that it has sustained

substantial lost revenue and profits, Plaintiff cannot identify a single client it has lost

due to Defendants’ conduct. Those speculative allegations are insufficient under

Iqbal.”). Plaintiff, on the other hand, maintains that it need only allege “that it has

been irreparably damaged by a defendant’s willful and wanton conduct, including loss

of profits and business, such allegations are sufficient to survive at the pleading

stage.” Resp. at 12. Notably, Defendants cite no authority in support of their

argument, while Plaintiff’s cite several cases.

       The Court finds that Plaintiff has the better of the argument. Plaintiff alleges

it “has sustained substantial lost revenue and profits and irreparable harm and

damage, including the loss of valuable confidential information, the loss of goodwill

and the ability to market and sell its services to the trucking industry.” Resp. at 12

(citing Compl. ¶¶ 39-40, 54, 56, 76, 78). This is sufficient to plead damages. See Traffic

Tech, 2015 WL 9259544, at *11 (plaintiff’s allegation that it ““has been irreparably

damaged by Defendants' willful and wanton conduct, including loss of profits and

business” was “sufficient to survive the pleading stage.”).

       All in all, the Court finds that Plaintiff has sufficiently pled violations of the

DTSA and ITSA and denies Defendant’s motion to dismiss Counts II and V.



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II.      Violation of the CFAA (Count III)

         In Count III Plaintiff alleges that Slesinski violated Section 1030(a)(4) of the

CFAA by unlawfully accessing Plaintiff’s confidential files and uploading them to his

personal email account. Compl. ¶¶ 57–63. The CFAA, in pertinent part, provides that

“any person who suffers damage or loss by reason of a violation of this section may

maintain a civil action against the violator.” 18 U.S.C. § 1030(g). Pursuant to the

CFAA, “a plaintiff must allege (1) damage or loss; (2) caused by (3) a violation of one

of the substantive provisions set forth in § 1030(a), and (4) conduct involving one of

the factors of harm set forth in § 1030(c)(4)(A)(i)(I)-(VI).” Segerdahl, 2019 WL 77426,

at *4 (cleaned up). For violations of § 1030(a)(4), a plaintiff must allege either

damage or loss, but not both. Id. (citing 18 U.S.C. § 1030(a)(2)(C), (a)(4)).

         The parties’ dispute centers on whether Plaintiff has adequately alleged the

element of “loss.” The CFAA defines “loss” to mean “any reasonable costs to any

victim, including the cost of responding to an offense, conducting a damage

assessment, and restoring the data, program, system, or information to its condition

prior to the offense, and any revenue lost, cost incurred, or other consequential

damages incurred because of interruption of service.” 18 U.S.C. § 1030(e)(11).

Defendants argue that Plaintiff fails to plausibly allege “loss,” insisting that

allegations of “loss” must relate to the impairment or disruption of a plaintiff’s

computer system. Mot. Dismiss at 10–11. Not so, counters Plaintiff, pointing out that

it has alleged that “as a result of Slesinski’s unauthorized access to [Plaintiff’s]

protected computer files and network, [Plaintiff] has spent in excess of $5,000.00 in



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investigating his wrongful conduct.” Compl. ¶ 63.

      As Defendant acknowledges, there is a split among courts in this district as to

what a plaintiff must allege to adequately plead “loss.” Relying on Inmar, Inc. v.

Vargas, 2018 WL 6716701 (N.D. Ill. 2018), Defendants urge this Court to side with

those courts that have found that “loss” under the CFAA must relate to the

impairment or disruption of a plaintiff’s computer system. Plaintiff, on the other

hand, relying on Pascal Pour Elle, Ltd. v. Jin, 75 F. Supp. 3d 782 (N.D. Ill. 2014),

invites the Court to side with those courts that have found that allegations of “loss”

do not require such an impairment or disruption. The Court finds that Plaintiff has

the better of the argument.

      In Inmar, the plaintiffs claimed “that they suffered damages in excess of $5,000

from the cost of responding to [d]efendants’ unlawful actions and conducting a

damage assessment.” Inmar, 2018 WL 6716701, *10. The defendants argued “that

loss requires [p]laintiffs to allege that the costs are associated with responding to an

interruption of service or that an impairment of data occurred.” Id. Referring to the

intent of Congress, the court agreed with the defendants, stating:

      When enacting the CFAA, Congress was concerned with . . . attacks by virus
      and worm writers, on the one hand, which come mainly from the outside, and
      attacks by disgruntled employees who decide to trash the employer's data on
      the way out (or threaten to do so in order to extort payments), on the other.
      Accordingly, to permit a plaintiff to state a CFAA claim by simply alleging costs
      incurred in responding to an alleged offense or conducting a damage
      assessment without alleging that the offense caused damage would
      impermissibly broaden the applicability of the CFAA to provide seemingly
      unfettered access to federal courts to adjudicate state law issues incidental to
      computer use.

Id. (cleaned up).

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      In Pascal, like the present case, the plaintiff alleged “that it incurred a loss of

over $5000 in investigation and security assessment costs associated with [the

defendant’s] intrusion.” In finding this sufficient to allege “loss,” the court stated:

      Ultimately, the Court is more persuaded by the plain language of the statute
      which defines loss as “any reasonable cost to any victim, including the cost of
      responding to an offense.” § 1030(e)(11). (emphasis added). The statute clearly
      states that loss includes any reasonable cost to the victim, and then provides
      examples of costs that could be considered reasonable under the statute.
      However, the definition, by its use of the word “including,” does not state that
      the list is exhaustive. In addition, the Court finds that the “cost of responding
      to an offense” includes the costs associated with conducting investigation and
      security assessments in response to a suspected violation of the CFAA.

Pascal, 75 F. Supp. 3d at 791.

      “As with any question of statutory interpretation, our inquiry “begins with the

text.” Wallace v. Grubhub Holdings, Inc., 970 F.3d 798, 800 (7th Cir. 2020). The Court

finds the reasoning of Pascal persuasive. The CFAA’s definition of “loss” is quite

broad: “any reasonable cost to any victim, including the cost of responding to an

offense.” 18 U.S.C. § 1030(e)(11). The “cost of responding to an offense” can certainly

encompass money spent in relation to investigating a suspected CFAA violation.

Therefore, the Court finds that Plaintiff’s allegation that it spent $5,000 investigating

Slesinski’s unauthorized access to its confidential information is sufficient to allege

“loss” under the CFAA. ExactLogix, Inc. v. JobProgress, LLC, 508 F. Supp. 3d 254,

268 (N.D. Ill. 2020) (costs result from responding to a potential CFAA violation

offense or conducting a damage assessment sufficient to allege loss); Chamberlain

Grp., Inc. v. Techtronic Indus. N. Am., Inc., 2017 WL 4269005, at *7 (N.D. Ill. Sept.

26, 2017) (allegations of loss related to investigation of defendant’s “unauthorized

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access to and acquisition of” plaintiff’s confidential information “is clearly

contemplated” by the CFAA, “regardless of whether service was interrupted.”); Lane

v. Brocq, 2016 WL 1271051, at *11 (N.D. Ill. Mar. 28, 2016) (losses related to

investigation sufficient “[g]iven the broad meaning of loss under the statute”);

Farmers Ins. Exch. v. Auto Club Grp., 823 F. Supp. 2d 847, 854 (N.D. Ill. 2011)

(allegation of loss related to investigating defendant’s “unauthorized access to and

acquisition of” plaintiff’s confidential information was sufficient “[b]ased on the plain

language of the CFAA”); Motorola, Inc. v. Lemko Corp., 609 F.Supp.2d 760, 768 (N.D.

Ill. Feb. 11, 2009) (allegations of loss “related to damage and security

assessments . . . are sufficient to allege loss for purposes of the CFAA”); TEKsystems,

Inc. v. Modis, Inc., 2008 WL 5155720, at *5 (N.D. Ill. Dec. 5, 2008) (allegations of loss

related to a “computer forensic investigation into [defendant's] conduct” sufficient

under CFAA); Sam's Wines & Liquors, Inc. v. Hartig, 2008 WL 4394962, at *4 (N.D.

Ill. Sept. 24, 2008) (plaintiff “adequately pleaded loss under the CFAA” by alleging

costs of at least $5,000 “responding to [defendant's] conduct and conducting damage

assessments”). Defendants’ motion to dismiss Count III is denied.

III.   Violations of the SCA (Count IV)

       In Count IV, Plaintiff alleges that Slesinski violated the SCA by unlawfully

accessing Plaintiff’s “email server and computing devices for purposes of obtaining

[Plaintiff’s] confidential proprietary customer information and secret API Key.”

Compl. ¶ 68. Defendants argue that Plaintiff has not pled actual damages or that

Defendants profited from the alleged violation and therefore fails to state a claim.



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Mot. Dismiss. at 13. Plaintiff, on the other hand, argue that it need not plead actual

damages or Slesinski’s profits to adequately state a claim under the SCA.

      The SCA provides in pertinent part that “[t]he court may assess as damages in

a civil action under this section the sum of the actual damages suffered by the plaintiff

and any profits made by the violator as a result of the violation, but in no case shall

a person entitled to recover receive less than the sum of $1,000.” 18 U.S.C. § 2707(c).

Further, the SCA provides that if “the violation is willful or intentional, the court

may assess punitive damages. In the case of a successful action to enforce liability

under this section, the court may assess the costs of the action, together with

reasonable attorney fees determined by the court.” Id.

      Although Defendants acknowledge that “several courts in this District

previously found that the SCA does not require a showing of actual damages,” they

urge this Court to adopt the holding of Vista Marketing, LLC v. Burkett, 812 F.3d 954,

966 (11th Cir. 2016) an Eleventh Circuit case, which held that “only those persons

who have proved actual damages suffered or profits received by the defendant” can

state a claim under the SCA. Id. Plaintiffs disagree, arguing that Defendants’

“reliance on Vista Marketing is improper and irrelevant,” and that, in light of in-

district cases holding that a plaintiff need not allege actual damages under the SCA,

it has indeed pled an SCA claim. Resp. at 14.

      The Court, however, need not reach this issue, as Defendants fail to

acknowledge that a plaintiff is still entitled to “punitive damages, attorney’s fees, or

costs for an SCA violation,” regardless of whether actual damages are pled. Maremont



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v. Susan Fredman Design Grp., Ltd., 2014 WL 812401, at *7 (N.D. Ill. Mar. 3, 2014).

(citing Van Alstyne v. Elec. Scriptorium, Ltd., 560 F.3d 199, 209 (4th Cir. 2009)

(“Section 2707(c) states, ‘[i]f the violation [of the SCA] is willful or intentional, the

court may assess punitive damages.’ This sentence lacks the limiting language

associated with an award of actual damages and statutory damages, with no

references to persons ‘entitled to recover.’”) (cleaned up); see also Joseph v. Carnes,

566 F. App'x 530, 534 (7th Cir. 2014) (“The SCA provides that a successful plaintiff

may recover ‘actual damages suffered by the plaintiff and any profits made by the

violator as a result of the violation’ as well as ‘punitive damages’”) (emphasis added).

Indeed, even Vista Marketing provides that the SCA “serve[s] as a deterrent to would-

be violators even when they think their violations will inflict no actual damages, and

it permits victims to recover in an appropriate case even when they can prove no actual

damages.” Vista Marketing, 812 F.3d at 973 (emphasis added).

      In its SCA claim, Plaintiff has requested “punitive damages for [Slesinski’s]

willful misconduct and reasonable attorneys’ fees.” Compl. ¶ 69. Plaintiff has also

adequately pled that Slesinski acted willfully in violating the SCA. See Compl. ¶ 68.

Accordingly, Defendants’ motion to dismiss Count IV is denied. See Sysco Corp. v.

Katz, 2013 WL 5519411, at *4 (N.D. Ill. Oct. 3, 2013) (“because Plaintiffs seek

punitive damages and attorney's fees, which can be recovered absent proving actual

damages, the SCA count survives”); Chadha v. Chopra, 2012 WL 6044701, at *3 (N.D.

Ill. Dec. 5, 2012) (because plaintiff sought both attorney's fees and punitive damages,

the SCA claim survived a motion to dismiss arguing failure to allege actual damages).



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IV.   State Law Claims

      Plaintiff brings claims for breach of fiduciary duty (Count I), tortious

interference with business relations (Count VII), aiding and abetting breach of

fiduciary duty (Count VIII), and accounting (Count IX). Defendants argue that these

claims are preempted by the ITSA. Mot. Dismiss at 14–16. Alternatively, Defendants

contend that Plaintiff fails to plausibly allege these claims. The Court addresses each

claim in turn.

      A.     Breach of Fiduciary Duty Claims (Counts I and VIII).

      In Count I, Plaintiff asserts that Slesinski breached his fiduciary duty to

Plaintiff, and in Count VIII, Plaintiff asserts that Dobosz aided and abetted these

breaches.

             1.     Preemption

      Defendants argue the ITSA preempts both claims, as they solely arise from

Slesinski’s misappropriation of trade secrets. Mot. Dismiss at 14–15. The Court

disagrees.

      The ITSA is “intended to displace conflicting tort, restitutionary, unfair

competition and other laws of Illinois by providing civil remedies for misappropriation

of a trade secret.” Spitz. v. Proven Winners N. Am., LLC, 759 F.3d 724, 733 (7th Cir.

2014) (quoting 765 ILCS 1065/8). “Illinois courts have read the preemptive language

in the ITSA to cover claims that are essentially claims of trade secret

misappropriation, even when the alleged trade secret does not fall within the Act's

definition.” Id. “However, ITSA does not preempt . . . other civil remedies that are not



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based upon misappropriation of a trade secret.” Am. Ctr. for Excellence in Surgical

Assisting Inc. v. Cmty. Coll. Dist. 502, 190 F. Supp. 3d 812, 822 (N.D. Ill. 2016). Put

differently, courts, in deciding whether the ITSA’s preemption applies, ask whether

a plaintiff’s claim “would stand regardless of whether trade secrets were at issue.”

Gen. Elec. Co. v. Uptake Techs, Inc., 394 F.Supp. 3d 815, 835 (N.D. Ill. 2019).

Generally, “employees may plan, form, and outfit a competing corporation while still

working for the employer, but they may not commence competition.” Alpha Sch. Bus

Co. v. Wagner, 910 N.E.2d 1134, 1149 (Ill. App. Ct. 2009).

      Here, Plaintiff alleges that Slesinski, with Dobosz’s knowledge: (1) solicited

Plaintiff’s current and potential clients; (2) usurped Plaintiff’s business opportunities;

(3) forwarded over 100 emails to his personal email account, many of which contained

confidential business information, and (4) formed and operated a business that was

directly competitive with Plaintiff while still employed by Plaintiff. Compl. ¶¶ 38, 40,

43–44, 46–47, 93). These allegations sufficiently support the inference that

Defendants began competing with Plaintiff, through NCC, before Slesinski ended his

employment with Plaintiff. Put another way, Plaintiff’s claim “would stand regardless

of whether trade secrets were at issue. See, Bankers Life & Cas. Co. v. Miller, 2015

WL 515965, at*8 (N.D. Ill. Feb 6, 2015) (breach of fiduciary duty not preempted by

ITSA where complaint alleged defendant used improperly acquired information once

he began competing); Hecny Transportation, Inc. v. Chu, 403 F.3d 402 (7th Cir. 2005).

As such, the ITSA does not preempt Plaintiff’s claim for breach of fiduciary duty. Id.




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             2.       Failure to State a Claim

      Alternatively, Defendants argue that Plaintiff fails to state a claim for breach

of fiduciary duty because “Plaintiff pleads only the self-serving accusation that

Defendants used Plaintiff’s information to compete, without any supporting facts.”

Mot. Dismiss at 17.

      To state a claim for breach of fiduciary duty, Plaintiff must allege facts that

show: (1) a fiduciary relationship existed, (2) breach of that duty, and (3) that breach

proximately caused the injury of which the plaintiff complains. Lawlor v. North

American Corp. of Illinois, 983 N.E.2d 414, 433 (Ill. 2012). “This fiduciary duty

consists of three separate duties: due care, loyalty, and good faith.” Griffin v. Asset

Mgmt., LLC v. Clark, 2024 WL 1328828, at *7 (N.D. Ill. Mar. 28, 2024).

       Here, when taking all well-pled allegations as true and making all reasonable

inferences in Plaintiff’s favor, the Court finds that Plaintiff has sufficiently alleged

that Slesinski, with the help of Dobosz, competed with Plaintiff while he still owed a

Plaintiff a duty of loyalty. Compl. ¶¶ 43–44, 93. Thus, the Court finds that Plaintiff

has sufficiently alleged Slesinski breached his fiduciary duty, and, by proxy, that

Plaintiff has sufficiently alleged that Dobosz aided and abetted Slesinski in doing so.

      Accordingly, the Court denies Defendants’ motion to dismiss Counts I and VIII.

      B.     Tortious Interference with Business Relations (Count VII)

      In Count VII, Plaintiff alleges that Defendants tortiously interfered with its

business relations by “induc[ing] hundreds of its clients to sever their contractual

relationships and discontinue[] doing business with” Plaintiff. Compl. ¶ 86.



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             1.     Preemption

      Defendants insist that the ITSA preempts this claim, as its “core allegation” is

that “Defendants acted improperly and intentionally using [Plaintiff’s] confidential,

trade secret information.” Mot. Dismiss at 15 (quoting Compl. ¶ 87). Plaintiff retorts

that Defendants’ act of soliciting Plaintiff’s customers and inducing them to sever

their relationships with Plaintiff is independent of misappropriation and therefore

survives preemption. Resp. at 16. The Court agrees with Plaintiff.

      The ITSA preempts a tortious interference claim if the claim is “wholly

dependent on the existence of the allegedly misappropriated information.” Arjo, Inc.

v. Handicare USA, Inc., 2018 WL 5298527, at *8 (N.D. Ill. Oct. 25, 2018). Here,

Plaintiff’s claim is not wholly dependent upon such information. Rather, it is

dependent upon the Defendants’ act of inducing Plaintiff’s clients to sever their

contracts and discontinue doing business with Plaintiff. Accordingly, the Court finds

that the ITSA does not preempt Plaintiff’s tortious interference claim.

             2.     Failure to State a Claim

      Defendants next argue that Plaintiff fails to allege the necessary elements of

its tortious interference claim.

      To state a claim for tortious interference with business relations, a plaintiff

must allege: “(1) the plaintiff had a reasonable expectancy of a valid business

relationship; (2) the defendant knew about the expectancy; (3) the defendant

intentionally interfered with the expectancy and prevented it from ripening into a

valid business relationship; and (4) the intentional interference injured the plaintiff.”



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Meyer, 2018 WL 1427130, at *2. A plaintiff “must also allege that the defendant

directed his behavior toward a third party.” Id.

      Defendants maintain that Plaintiff “must allege some action by the defendant

directed at the third party with whom the plaintiff has the expectancy.” Mot. Dismiss

at 18 (citing Meyer Technology Solutions, LLC v. Kaegem Corp., 2018 WL 1427130,

at *2 (N.D. Ill. 2018)). And since Plaintiff “fails to identify a single client who, due to

Defendants’ conduct, decided not to do business with Plaintiff,” its claim fails. Id.

      Plaintiff rejects Defendants’ interpretation of the pleading standard for a

tortious interference claim, stating that Meyer does not require a plaintiff to

specifically name any third party. Resp. at 18; see also Resp. at 18–19 (citing Cook v.

Winfrey, 141 F.3d 322, 328 (7th Cir. 1998) (“The Federal Rules do not require that [a

plaintiff’s] complaint allege the specific third party or class of third parties with whom

he claims to have had a valid business expectancy.”).

      Plaintiff is correct that Defendants overstate the holding of Meyer, as it did not

hold that a plaintiff must specifically identify any clients or customers that a

defendant has allegedly poached or attempted to poach. Rather, the (counter)

plaintiff’s claim failed in Meyer because it “never allege[d] that [the counter

defendant] directed any conduct toward any of [its] customers.” Meyer, 2018 WL

1427130, at *2. Meyer requires no further specificity, and Defendants do not point to

any language to the contrary.

      Here, Plaintiff sufficiently pleads all the elements of tortious interference.

Plaintiff alleges that it “had the expectancy of continued business relationships with



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its clients,” that Defendants purposefully targeted clients with whom Plaintiff had

contracts and induced them to sever those contracts, and that, as a result, Plaintiff

“has suffered and will continue to suffer financial injury in an amount to be proven

at trial.” Compl. ¶¶ 85–88. Nothing further is required.

      Accordingly, the Court denies Defendants’ motion to dismiss Count VII.

      C.     Accounting (Count IX)

      In Count IX, Plaintiff alleges that as “a consequence of Defendants’ improper

conduct,” “[d]etailed discovery, including expert forensic computer and accounting

work, will be required to ascertain the actions taken by Defendants and the financial

and other benefits that have inured to them as a result of their wrongful actions and

accordingly Hoffenmer has no adequate remedy at law.” Compl. ¶¶ 96–97.

             1.     Preemption

      Like the previous claims, Defendants argue that “Plaintiff’s claim for an

accounting in Count IX is based upon Defendants’ ‘improper conduct’ in

misappropriating trade secrets” and therefore must be preempted. Mot. Dismiss at

16.

      The Court disagrees that Plaintiff’s claim for an accounting is preempted.

Plaintiff alleges that it requires an accounting due to Defendants’ “improper conduct.”

Compl. ¶ 96. As the Court explained in relation to Plaintiff’s breach of fiduciary duty

claim and tortious interference claim, the allegations regarding Defendants’ improper

conduct goes beyond the misappropriation of trade secrets. Accordingly, the Court

finds that the ITSA does not preempt Plaintiff’s accounting claim.



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              2.     Failure to State a Claim

        “To state a claim for accounting, [a plaintiff] must allege both the absence of

an adequate remedy at law as well as at least one of the following: (1) a breach of a

fiduciary relationship, (2) a need for discovery, (3) fraud, or (4) the existence of mutual

accounts which are of a complex nature.” Promier Prods., Inc. v. Orion Cap., LLC,

2022 WL 2116663, at *3 (N.D. Ill. June 13, 2022) (citing Kempner Mobile Elecs., Inc.

v. Southwestern Bell Mobile Sys., 428 F.3d 706, 715 (7th Cir. 2005)).

        Defendants do not argue that Plaintiff fails to allege the absence of an adequate

remedy at law. Therefore, the Court does not address the sufficiency of that

allegation. Econ. Folding Box Corp. v. Anchor Frozen Foods Corp., 515 F.3d 718, 721

(7th Cir. 2008) (it “is not the court's responsibility to research the law and construct

the parties' arguments for them). Instead, Defendants assert that Plaintiff cannot

make out a claim for accounting because it has not alleged a breach of fiduciary duty

or that it lost any client to Defendants. Mot. Dismiss at 19. The Court, however, has

already dispatched these arguments. Since these are the only challenge to Plaintiff’s

accounting claim, the motion to dismiss Count IX is denied.

V.      Defendants’ Request to Strike Exhibit A to Plaintiff’s Response

        In their Reply, Defendants request to strike Exhibit A to Plaintiff’s response.

The Court did not consider Plaintiff’s Exhibit A and thus need not address this issue.




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                                    Conclusion

         For the foregoing reasons, the Court denies Defendants’ Motion to Dismiss.

R. 17.


Dated: June 13, 2025
                                              United States District Judge
                                              Franklin U. Valderrama




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